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oN o © JN RE: OIL SPILL by “Deepwater Horizon”
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ww DIRECT FILING SHORT FORM’

op, Ae “iA Nthorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
ot (Cipesor said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

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By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et ai., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179}.

Last Name First Name | Middie Name/Maiden Sufix
NGUYEN ROSA
(287) 847- 9 3 1 4 E-Mail Address

Address City / State / Zip

ue ‘BUSINESS ( CLAIM’

INDIVIDUAL LAM 6 8

Employer Name LSCTRIANA CAJUN CRAWFISH

Job Title / Description RES PRUTANT
“e a 48588 TOMBALL PKWY
. ore HOUSTON, Tx 77086
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
UOREN'G. KLITSAS KITSAs & VERCHER, P.C.
350 WESTCOTT STE STE 570 HOUSTON, TX 77007
795) BG2-1365 KLITSAS@KV-LAW.COM
Claim filed with BP? YES oO NO Claim Filed with GCCF?: YES NO oO
If yes, BP Claim No.: lf yas, Claimant Identification No.:

Claim Type (Please check all that appty):

| | Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Eamings/Profit Loss Lass of Subsistence use of Natural Resources
|] Personal Injury/Death Removal and/or clean-up costs
! Other:

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Loulsiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this farm in C.A. No. 10-8888 shal! be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179, Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of thig Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file & Plaintiff Profile Form.

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| Brief Description:

1. For earnings/profit loss, property damage and icss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

MS. NGUYEN OWNS A RESTAURANT THAT RELIES HEAVILY UPON FRESH CRAWFISH
FROM IN AND AROUND THE GULF HAVE DECLINED AS A RESULT OF THE DEEPWATER
RORIZON INCIDENT, ADDITIONALLY, THE PRICE OF GULF SEAFOOD FAS
DRAMATICALLY DECREASED COMPARED TO PREVIOUS YEARS. THEREFORE, SHE
HAS SUFFERED A LOsSo IN PROFIT S/EARNINGS DUE [TO 1 AE oPILL.

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

WA

3. For postexplosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

N/A

2

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of 2 Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

oO 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering.

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereat.

E] 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business whe earn their living through the use of the Gulf of Mexico.

CI 4, Commercial business, business owner, Operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee therecf.

CJ 5. Recreational spart fishermen, recreational diver, beachgoer, or recreational boater.
CT] 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

OJ? Owner, lessor, or lessee of real propert y alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

OD 8. Hatel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry,
OJ 9. Bank, financial institution, or retail business that suffered losses as a result of the spill,

QM 10.  Persan who utilizes natural resources for subsistence.

J 11. Other:
Post-Explosion Personal injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
(1. Boat captain or crew involved in the Vessels of Opportunity program.

CJ 2. Worker involved in decantaminating vessels that came into contact with oil and/or chemical dispersants.

O 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

oO 4. Clean-up worker or beach personnel involved in dean-up activities along shorelines and intercoastal and intertidal zones.
CO §. Resident who lives or works in close proximity to coastal waters.

(16. = Other:

Both BP and the Gulf Coast Claim s Facility ("GCCF”) are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject fo such information being treated as "Canfidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to beth
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

mey Signature
LOREN G. KLITSAS
Print Name
Ylaof UI
Date

3

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Piaintiff Profile Form.
